

People v Maldonado (2022 NY Slip Op 04136)





People v Maldonado


2022 NY Slip Op 04136


Decided on June 28, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 28, 2022

Before: Gische, J.P., Kern, Mazzarelli, Singh, Rodriguez, JJ. 


SCI No. 2507/18 Appeal No. 16206 Case No. 2019-1979 

[*1]The People of the State of New York, Respondent, 
vJonathan Maldonado, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Hilary Dowling of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Daniel Young of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Bahaati Pitt, J.), rendered December 20, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 28, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








